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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

Sharell Marshal
                               Plaintiff,
v.                                                    Case No.: 1:21−cv−00511
                                                      Honorable John F. Kness
TrueAccord Corp.
                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, October 1, 2021:


        MINUTE entry before the Honorable John F. Kness: Due to a clerical error, the
status hearing set for 9/29/2021 is stricken and reset for 10/22/2021 at 09:40 AM; the
parties shall use the same call−in information [15]. Mailed notice(ef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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